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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
JAMES E. PIETRANGELO, II                   )
                                           )
                        Plaintiff,        )  Judge Dabney L. Friedrich
                                           )
            v.                             ) Civil Action No. 1:18-cv-01943-DLF
                                           )
REFRESH CLUB, INC. (dba THE WING), and     )
THE WING DC, LLC (dba THE WING aka                      )
THE WING DC)                              )
                                          )
                        Defendants.       )
__________________________________________)

                            SECOND MOTION FOR JUDICIAL NOTICE

        Pursuant to Fed.R. Evid. 201 and the Court’s inherent powers, Plaintiff hereby moves the

Court to take judicial notice of new newly-arisen adjudicative facts as set forth in the Memorandum

of Points and Authorities in Support below and in the Exhibits attached hereto. Like the previous

newly-arisen adjudicative facts of which Plaintiff earlier asked the Court to take judicial notice, these

facts are relevant to an argument and sworn averment(s) submitted by the Defendants (herein

collectively “The Wing”) in their motion to dismiss papers, and subsequently challenged by Plaintiff

in his opposition and attempted surreply.      These facts yet again seriously call into question the

truthfulness or basis of Defendants’ said argument and sworn averment(s). Further, these facts are

generally known within the Court’s territorial jurisdiction, and/or can be accurately and readily

determined from sources whose accuracy cannot reasonably be questioned.

                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT

        To recap, on September 26, 2018, The Wing filed a motion to dismiss Plaintiff ’s complaint.

In its motion, The Wing centrally argued, among other things, that Plaintiff ’s claim that The Wing

                                                   1
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continues to have a policy, practice, and pattern of excluding men (including Plaintiff) from its

accommodations based on their gender is moot because on August 30, 2018, The Wing “adopted a

formal, written policy pursuant to which all applicants are evaluated based on their commitment to

The Wing’s mission, regardless of their perceived gender or gender identity.” 9/26/18 Defs. Mot.

Memo. at 18-19. See, also, id. at 5-6. The Wing’s argument was based on Exhibit 3 to its motion, the

declaration of The Wing’s CEO Audrey Gelman, wherein she averred under oath to the same effect.

The deliberate implication or suggestion of The Wing’s argument and of Gelman’s averment(s) was

clearly that The Wing had adopted a policy of accepting men as well as women. Indeed, there would

have been no basis whatsoever for The Wing to argue that Plaintiff ’s specific claim of

discrimination against men (including himself) by The Wing was moot if the implication or

suggestion of The Wing’s argument and of Gelman’s averment(s) was not that The Wing’s

purported new policy provided for the admission of men. The exclusion of men obviously could

not be legally mooted by the non-admission of men. Even after Plaintiff in his opposition and later

attempted surreply to The Wing’s motion questioned the genuineness and/or extent of The Wing’s

purported new policy, The Wing in its reply in support of its motion, if only by silence, maintained

its implication or suggestion before the Court.

       However, since the parties’ briefing on The Wing’s motion to dismiss in late 2018, and since

several public admissions by The Wing in early January 2019 (discussed in Plaintiff ’s first motion for

judicial notice), The Wing has engaged in several public actions and/or statements of record on the

internet which directly bear on the (lack of) genuineness of The Wing’s suggestion or implication

before the Court.     These actions/statements seem to confirm Plaintiff ’s opposition-to-dismiss

arguments and averments that The Wing, despite its purported new policy, continues to exclude

and/or discriminate against men, and that The Wing presented its purported new policy to the

Court simply in an effort to deceive the Court into abandoning jurisdiction in this case.




                                                  2
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        First, to this day, the countless photographs of The Wing’s members (including at The Wing

DC) on The Wing’s public social-media accounts—Twitter, Facebook, and Instagram—have only

ever been of women. See Ex. 1 (Pietrangelo Decl.) hereto at ¶ 4. The same is true of all written

references to members. See ibid.

        Second, The Wing has continued to describe itself—or to allow others to describe it—as for

women only.      For only one example, on or about March 6, 2019, on The Wing CEO Audrey

Gelman’s own Twitter feed which is prominently linked-to by The Wing’s Twitter feed, Ms. Gelman

posted or retweeted a tweet by a Wing member Susanna Locascio in which Locascio praised The

Wing as “Womanhattan come to life.” See id. at ¶ 5. Womanhattan is the setting (and title1) of a

short story, by a Julia Shiplett, in which “men have been banned from New York City’s main island

and society has rebuilt itself.” See ibid. The full text of Womanhattan—to which Gelman’s retweet

directly linked—revels in and is replete with favorite stereotypes of The Wing about women and

men, i.e., only positive stereotypes of women and only negative stereotypes of men. At one point in

the story, men are compared to or associated with the smell of “urine baking in the sun.” See ibid.

(Ex. 2 at penultimate page of story, at last line).

        For another example, on or about January 11, 2019, on The Wing’s own Twitter feed, The

Wing posted or retweeted a promotional statement for a public event to be held at The Wing

Dumbo in New York City on January 13, 2019. The promotional statement stated in pertinent part:

“The Wing is a space for women and nonbinary folks only.” See Ex. 1 hereto at ¶ 6 (Ex. 3 at last

page at last line). For another example, on or about February 26, 2019, Gelman on her own Twitter

feed posted or retweeted a statement from Fast Company, a business magazine, stating in pertinent

part that The Wing’s scholarship program “offers free membership to women.” See id. at ¶ 7. For

1 Apparently a play on the name of the island of Manhattan, where The Wing had/has its first
headquarters and two of its locations (including its first). Ironically, the “Man” in the place-name
“Manhattan” does not even actually come from the English word for a male “man” but reportedly
from an indigenous Indian word meaning either “many” (as in island of “many hills”) or
“gather” (as in island where “to gather the wood for bows”).

                                                      3
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yet another example, on or about February 6, 2019, Gelman, again on her own Twitter feed, posted

or retweeted a statement from Unearth Women—a travel magazine—stating in pertinent part that The

Wing is a “women’s co-working space.” See id. at ¶ 8. On or about January 22, 2019, Gelman on her

Twitter feed likewise posted or retweeted a statement from Time Out Chicago, a multi-platform

media company, stating in pertinent part: “Women’s co-working space The Wing.” See id. at ¶ 9.

Time Out Chicago was talking about The Wing’s new location opening this spring in Chicago.2 For

still yet another example, on or about December 5, 2018, on its own Instagram feed, The Wing

posted a photo of a woman wearing a t-shirt reading “The Wing Women’s Club & Community.” See

id. at ¶ 10.

         For yet another, and extremely telling, example, The Wing cooperated or participated in a

February 7, 2019 vox.com article entitled “The big, controversial business of The Wing, explained,”

and subtitled, “How a women’s coworking space became a flashpoint for debates over feminism,

money, and power.” https://www.vox.com/2019/2/7/18207116/the-wing-soho-dc-coworking-

feminism-gelman; Ex. 8 hereto. Besides reiterating that The Wing is a “women’s coworking space,”

the vox.com article variously states: “For many members, The Wing is a workplace where they won’t

get bothered or interrupted by men.”; “The Wing hires formerly incarcerated women and survivors

of domestic violence to work in its cafes”; “ ‘The Wing has the possibility of becoming the world’s

largest network of women’ ”; and “The Wing has faced pushback over its status as a women-only

space.” Ibid. The vox.com article also contains another photo of a woman wearing a t-shirt reading

“The Wing Women’s Club & Community.” See ibid.

         Remarkably, the vox.com article also contains a brazen admission by The Wing as to exactly

what Plaintiff has been arguing and alleging is the real meaning of The Wing’s purported new


2Not coincidentally, chicago.curbed.com, in its own article about the upcoming Chicago location of
The Wing, states variously in pertinent part: “The Wing, a new coworking space for women,” “The
women’s club,” and “This is the second coworking space just for women to open in the city[.]”
https://chicago.curbed.com/2019/1/22/18185782/the-wing-women-coworking-space-preview.

                                                 4
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membership or admission policy which it proffered to the Court—that the purported new policy

does not apply to men at all but only to transgender women and non-binary people:

               The Wing cited the new policy in its motion to dismiss Pietrangelo’s
               suit, arguing that Pietrangelo’s complaint was rendered moot by the
               fact that applicants will now “be evaluated based on their
               commitment to The Wing’s mission, regardless of their perceived
               gender identity.” (The Wing told Vox that its “policy update has
               nothing to do whatsoever with Mr. Pietrangelo’s suit.”) With its news
               policy, “The Wing is not only affirming the womanhood of trans
               women, they’re also affirming the personhood of nonbinary folks
               like me,’ said Jacob Tobia, a Wing member and the author of Sissy: A
               Coming-of-Gender Story, whom The Wing asked to review its
               announcement of the policy.

Ibid.

        Indeed, the vox.com article makes clear that The Wing’s purported new policy only

purportedly came about because some thought that The Wing’s marketing was geared too much

towards biological women and not enough towards others on the “non-men spectrum,” i.e.,

transgender women and non-binary people (non-binary people are not men because they do not

identify either as men or women):

               The Wing has faced pushback over its status as a women-only space.
               While the company has long admitted members who identify as
               nonbinary, its founders have been criticized for focusing on women
               in their marketing. *** In January, Gelman and Kassan announced a
               new gender policy. “With a growing number of members who
               identify as transgender or beyond the gender binary, we want to make
               sure that we are as inclusive a community as possible,” they wrote.
               “We’ve made some internal updates and adopted written membership
               policies to ensure that our staff is trained not to make assumptions
               about someone’s identity based on how they present, or to ask
               prospective members or guests to self-identify.”

This explains the peculiar phrase, “regardless of their perceived gender or gender identity,” in The

Wing’s statement to the Court in its motion that The Wing had “adopted a formal, written policy

pursuant to which all applicants are evaluated based on their commitment to The Wing’s mission,

regardless of their perceived gender or gender identity.” “Perceived gender” and “gender identity”

are terms of art in reference to transgender and non-binary people.

                                                 5
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       These most recent statements and admissions of record show that The Wing (including at

The Wing DC) has continued all along to date to exclude and/or discriminate against men. If The

Wing were a co-working space truly open and accessible to all regardless of gender/sex—i.e., open

to men as well as women, transgender, and non-binary—The Wing would not still describe itself

and allow others (especially those with whom it cooperates for press) to describe it parochially as a

women’s co-working space—especially a women-only co-working space—and would describe it

simply as a co-working space.     That The Wing’s scholarships are mentioned only as being for

women, that women are mentioned as being able to be not “interrupted or bothered” by men at The

Wing, and that The Wing is mentioned as only hiring incarcerated women to work in its cafes, also

clearly imply that there are no men members in The Wing and that The Wing still excludes and/or

discriminates against men. The Wing’s CEO’s likening The Wing to Womanhattan—where all traces

of men are completely eradicated and women are left to themselves—completes the damning

picture of continuing discrimination.     Indeed, The Wing obviously still publicly vilifies men,

associating them with not just urine but baked urine, no less. It should be recalled how, as Plaintiff

previously explained in his opposition declaration, Gelman in a June 2018 interview initially reacted

with an “UGH” when asked by a Village Voice reporter about men being admitted as members.

       In short, The Wing clearly deceived the Court about its purported new policy.3 It made an

artfully-worded representation to the Court—that on August 30, 2018, The Wing “adopted a

formal, written policy pursuant to which all applicants are evaluated based on their commitment to

The Wing’s mission, regardless of their perceived gender or gender identity,” 9/26/18 Defs. Mot.

Memo. at 18-19—that gave the impression to the Court of a gender-neutral policy and practice

under which men could and would be admitted, while The Wing full-well knew that in reality it had




3Even after all he has seen as an attorney over the last 20 years, Plaintiff is still amazed that The
Wing has brazenly deceived a federal judge. Plaintiff notes that in the last two months he has twice
brought this deception to the attention of The Wing’s counsel, to no avail.

                                                  6
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only adopted a PR policy designed to clarify its commitment to transgender women and non-binary

people.

          For these reasons, Plaintiff asks the Court to take judicial notice.

                                                           Respectfully submitted,

                                                           /s/ James E. Pietrangelo, II
                                                           _________________________
                                                           JAMES E. PIETRANGELO, II
                                                           Pro Se




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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
JAMES E. PIETRANGELO, II                   )
                                           )
                        Plaintiff,        )  Judge Dabney L. Friedrich
                                           )
            v.                             ) Civil Action No. 1:18-cv-01943-DLF
                                           )
REFRESH CLUB, INC. (dba THE WING), and     )
THE WING DC, LLC (dba THE WING aka         )
THE WING DC)                               )
                                           )
                        Defendants.       )
__________________________________________)

                   DECLARATION OF PLAINTIFF JAMES E. PIETRANGELO, II
                 IN SUPPORT OF HIS SECOND MOTION FOR JUDICIAL NOTICE

       I, James E. Pietrangelo, II, hereby state as follows:

       1.         I am over the age of 18, suffer no legal disabilities, and am a legal resident of the

State of Ohio.

       2.         I have personal knowledge of the facts herein and am competent to testify as to all

matters herein.

       3.         I am the Plaintiff in the above-captioned case, and I am making this Declaration as

Exhibit 1 in support of my Second Motion for Judicial Notice (including its Memorandum in

Support).

       4.         I have regularly reviewed The Wing’s public Twitter, Facebook, and Instagram

accounts feeds going all the way back to August 29, 2018 (and before), up to the present day, such

that I have viewed virtually every if not every photograph and post on the face of the feeds at one

time or another. Out of the countless photographs and written posts on the face of the feeds, I do

                                                      1
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not recall ever having observed any photograph of a man as a member or any post referring to a

man as a member. All of the photographs and posts of members have been of women (biological

or transgender).

        5.     Exhibit 2 hereto are screen-shots I previously took of a March 6, 2019 retweet by

The Wing CEO Audrey Gelman on her own Twitter feed (which is prominently linked-to by The

Wing’s Twitter feed), and of the short-story Womanhattan at the retweet’s link.

        6.     Exhibit 3 hereto are screen-shots I previously took of a January 11, 2019 post/

retweet by The Wing on its Twitter feed, and of the promotional statement at the post’s/retweet’s

link.

        7.     Exhibit 4 hereto is a screen-shot I previously took of a February 26, 2019 post/

retweet by The Wing CEO Audrey Gelman on her own Twitter feed (which is prominently linked-to

by The Wing’s Twitter feed).

        8.     Exhibit 5 hereto is a screen-shot I previously took of a February 6, 2019 post/

retweet by The Wing CEO Audrey Gelman on her own Twitter feed (which is prominently linked-to

by The Wing’s Twitter feed).

        9.     Exhibit 6 hereto is a screen-shot I previously took of a January 22, 2019 post/

retweet by The Wing CEO Audrey Gelman on her own Twitter feed (which is prominently linked-to

by The Wing’s Twitter feed).

        10.    Exhibit 7 hereto is a screen-shot I previously took of a December 5, 2018 post by

The Wing on its Instagram feed.

        11.    Exhibit 8 hereto is the February 7, 2019 vox.com article entitled “The big,

controversial business of The Wing, explained,” and subtitled, “How a women’s coworking space

became a flashpoint for debates over feminism, money, and power,” available at https://

www.vox.com/2019/2/7/18207116/the-wing-soho-dc-coworking-feminism-gelman.




                                                 2
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           Pursuant to 28 U.S.C.§ 1746, I declare under penalty of perjury that the foregoing is true and

correct.

Executed on this 12th day of March 2019.                 /s/ James E. Pietrangelo, II
                                                         _________________________
                                                         JAMES E. PIETRANGELO, II




                                                                         Text
                                                                         Exhibit 1
                                                     3
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                                               Exhibit 2
Case 1:18-cv-01943-DLF Document 18 Filed 03/13/19 Page 12 of 39




                                               Exhibit 2
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                                               Exhibit 2
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                                               Exhibit 2
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                                               Exhibit 2
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                                               Exhibit 2
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                                                    Exhibit 3
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                                                    Exhibit 3
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                                                Exhibit 3
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                                                Exhibit 4
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                                                Exhibit 5
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                                                Exhibit 6
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                                                Exhibit 7
Case 1:18-cv-01943-DLF Document 18 Filed 03/13/19 Page 24 of 39




                                                Exhibit 8
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The SoHo location of The Wing, located in lower Manhattan, opened its doors in 2017.




The big, controversial business of The
Wing, explained
How a women’s coworking space became a flashpoint for debates over
feminism, money, and power.
By Anna North and Chavie Lieber        Feb 7, 2019, 7:00am EST
Photographs by Amelia Holowaty Krales for Vox



The Wing is an interior designer’s Instagram-perfect fantasy.

The books on the walls are color-coded. The plants are lush. The bathrooms are stocked
with luxury beauty products. On a recent visit to the SoHo location of the women’s club
and coworking space, sunlight bathed millennial-pink furniture as, one floor below,
construction finished on a childcare center.

To its founders, members, investors, and critics, though, the Wing is so much more than
a pretty office. It’s a “safe, affirming professional network,” as Audrey Gelman, one of its
co-founders, puts it. It is also a “workspace with community-building at its core,”
according to Nicole Gibbons, a Wing member.
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The Wing has five locations in New York City, Brooklyn, the District of Columbia, and San
Francisco, with more than 6,000 members. It offers events like “Prenup 101,” and
invitations to intimate evenings with notables such as Alexandria Ocasio-Cortez and
Jennifer Lawrence. It hosts community discussions with titles like “Fuck Harvey
Weinstein” and social gatherings like a Dominican Wing Women Happy Hour. It also
promotes social activism, chartering buses to feminist rallies, and has had voter
registration drives.

The SoHo location feels like an oasis, with everything from the lactation room to the
phone booths (named after fictional heroines like Ramona Quimby, Hermione
Granger, and Lisa Simpson) designed with women in mind — something sorely lacking in
most workplaces.


The quiet room at The Wing’s SoHo location.




But this sanctuary, of course, isn’t available to everyone. It’s application-only, and its
$215 monthly price tag (or $250 to access all locations), though affordable in the realm
of coworking spaces, puts it out of reach for many women.

Per critic Kaitlyn Borysiewicz, the Wing focuses on “the advancement of a certain type
of woman.”

The founders engage with their critics — “we love getting feedback,” Gelman says — but
questions around exclusivity continue to dog The Wing. These questions come at a time
when the “Lean In” brand of women’s empowerment, espoused by Facebook COO
Sheryl Sandberg, is receiving increased criticism.


The Wing co-founder Audrey Gelman and actress Jennifer Lawrence speak during a “20th Century Fox x The Wing” event on February 23, 2018,
in New York City. | Monica Schipper/Getty Images for The Wing




Meanwhile, The Wing is growing. Last month, it raised $75 million in a series C funding
round led by Sequoia Capital and Upfront Ventures — venture capital firms that invested
in giants like Airbnb, Instagram, Ulta, and
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                                                                           forofThe
                                                                                39 Wing’s
expansion, too, given that the sharing economy continues to grow. Companies like
Airbnb, Uber, Rent the Runway, and WeWork are appealing to consumers who prefer
not to commit to clothes, cars, or office space.

All this puts The Wing, which Gelman and co-founder Lauren Kassan started in October
2016, at the center of some of today’s biggest debates about gender, power, and
corporate feminism. As it grows, with $117.5 million in total funding raised, The Wing will
only become more central to these debates — all of which are poised to become even
more pressing in 2019 and beyond.


Audrey Gelman, co-founder of The Wing, in the company’s Washington, DC, workspace, its first location outside of New York, on April 9, 2018. |
Evelyn Hockstein/The Washington Post via Getty Images




The Wing, explained
The idea for The Wing came from Gelman’s nomadic lifestyle in 2015, when she was
working at the public affairs firm SKDKnickerbocker and often traveled between New
York City and DC without a home base to answer emails or change her outfit between
meetings. The Wing’s team has worked hard to build a space that Gelman compares to a
college library — fun and inviting, with an unapologetic work-hard vibe.

“You immediately walk in and feel this feeling that is really communal and it’s energizing,”
Gelman told Vox at the Wing’s SoHo cafe. “Women set more ambitious life goals for
themselves in the company of other women.”

When the first club opened in New York City’s Flatiron neighborhood, the intent was to
celebrate “the golden age of women in power,” Gelman told the Washington Post; the
founders assumed Hillary Clinton was about to be elected president.

When Donald Trump won instead, Gelman told Vox, “things got so dark, and women
were locking arms with one another in ways that they never had before.” They wanted
“spaces where they could come together ... to advance whatever professional goals that
they had, but also to feel that there was an alternative from what they were
experiencing in the world.”
Like many otherCase
                 startups  with a mostly
                    1:18-cv-01943-DLF     young18
                                       Document  workforce,   The Wing
                                                    Filed 03/13/19      has
                                                                   Page 28 of traded
                                                                              39     office
cubicles for an open seating plan. It also has a hot-desk model, where members don’t
get assigned seating and move around instead. This type of work atmosphere, says
Gelman, promotes the type of network The Wing hopes members will develop.


High school senior Yazs Glasgow (left) and Fashion Institute of Technology undergraduate Shay Gutierrez are
interns for Wing member Rashmi Narendra, who is the founder of the fashion startup Cardinal Mode.


Marianna Martinelli (center), head of community at The Wing, chats in the front room of the SoHo location.



The Wing, Gelman and Kassan, both 31, have said, mimics the women’s club
movements of the late 19th and early 20th centuries. When women couldn’t join men’s
institutions like country clubs or elite colleges, and didn’t have the right to vote, they
created groups of their own. Clubs like Sorosis, the New England Women’s Club, the
National Council of Jewish Women, and the Colored Female Religious and Moral Society
became places where members executed changes in their neighborhoods. They also
gathered to talk political activism and justice reform, and pushed for women’s suffrage.
Gelman sees The Wing as a place that can “inherit the mantle of groups like that.”

Women’s history aside, interest in The Wing also comes from the fact that its founders
are well-connected. Early members of The Wing include Girls creator Lena Dunham,
Jenna Lyons (formerly of J.Crew), fashion blogger Leandra Medine, Women of the
World’s Tina Brown, and model and actress Hari Nef. When the club launched, it was
showered with attention on social media and in the press.

“The Wing represents a new kind of exclusive club that taps into the needs, ambitions,
and aesthetics of a certain kind of New York woman,” one Quartz correspondent wrote
shortly after becoming a member. “We’re feminists. We like nice things, but dislike
pretension. Many of us don’t have offices. We meld work and play, and lightly stalk the
online presence of women whose work we admire. And we never thought we’d join a
members-only club.”

From the start, though, The Wing also stirred controversy.
The Wing has inspired  debates among
             Case 1:18-cv-01943-DLF     feminists
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For many members, The Wing is a workplace where they won’t get bothered or
interrupted by men.

“I see more women breastfeeding on conference calls there than I’ve seen anywhere
else,” said Aminatou Sow, co-host of the podcast Call Your Girlfriend and a Wing
member.

But some have argued that by charging several hundred dollars a month for membership
— and requiring would-be members to apply for admission — The Wing has put its
benefits out of reach of the very women who could use them most, especially women of
color and low-income women.

The company focuses on advancing “the type of woman who could readily and easily
afford to spend over $2,000 a year,” according to Kaitlyn Borysiewicz, who wrote a
critique of The Wing in April 2018 at the Melanin Collective, a website dedicated to
women of color that she co-founded.


Recipe developer Camille Becerra works at the SoHo location of The Wing.




“Unfortunately,” she told Vox, “that type of woman isn’t the type of woman who actually
needs opportunity and access the most.”

“Women of color are more likely to occupy low paying or working poor jobs,”
Borysiewicz wrote, meaning they’re unlikely to be able to afford The Wing’s
membership fee, and the promise of upward mobility and networking offered by The
Wing is closed to them.

In response to such criticisms, Gelman told Vox that diversity is integral to The Wing:
“We don’t do a panel at The Wing without representation from women of diverse ethnic
backgrounds. Our beauty rooms have beauty products specifically for women of color,
like hair products, but also tools. We really try to think about diversity not only in terms
of who is actually in the space but also in terms of how the space is being designed.”

The Wing also has a full-time team devoted to diversity and inclusion, and it points to
women of color,Case
                including   Nicole Gibbons,
                    1:18-cv-01943-DLF       who18started
                                      Document            their businesses
                                                   Filed 03/13/19             out of The
                                                                  Page 30 of 39
Wing. These women say they recognize The Wing as a space that is invested in diversity.


The quiet room at The Wing in Soho.




The Wing also offers two-year scholarships for those who can’t afford its
membership. The scholarship team, the company says, “focuses on individuals who
work in industries that are underrepresented in our membership, are typically
underfunded, and who work [for the] advancement of marginalized women and girls.” In
general, Gelman told Vox that “we look at membership through the lens of diversity.”

But, Borysiewicz asks, “why are you making underserved women compete for access to
these valuable resources?” And speaking of The Wing’s founders, she asked, “why are
these socioeconomically elite white women setting the criteria on what an underserved
woman deserves?” (The Wing says the head of its scholarship team is a woman of
color.)

“The equity for women of color specifically should be the common factor” in The Wing’s
endeavors, Borysiewicz said. “I think if they had made that their core principle from the
start, we wouldn’t be having a lot of these conversations now.”

The Wing is currently exploring tiered memberships, where members can pay less in
exchange for less access to the space.

Critics also see The Wing as co-opting the language and iconography of feminism to
make money. Writer Daisy Alioto took issue with “the branding of the coworking space
as some sort of social good for all women rather than a service that individual women
pay for,” in a conversation published last July in Study Hall, a newsletter aimed at
freelance media workers.

“I’m glad some women will benefit from it,” she wrote. “But I don’t think Audrey Gelman
is a pioneer for feminism — she’s an opportunist.”


The lactation room at The Wing SoHo has a changing table and breast pump for members to use.
Gelman and Kassan  are careful not toDocument
             Case 1:18-cv-01943-DLF   label their
                                              18 company     as feminist.
                                                  Filed 03/13/19 Page 31 of 39

The company’s policies are feminist, Gelman told Vox. But, she adds, “Are we the
answer to every facet and historic dilemma of feminism? No, and we don’t claim to be.”

To some degree, debates about The Wing’s feminist bona fides may get more attention
in media circles than in the culture at large. For a certain subset of women in media, the
company “became this flashpoint for everything that upset us about 2018,” journalist
Beejoli Shah told Vox.

Meanwhile, some argue that The Wing is judged far more harshly than other coworking
businesses, like WeWork, that make no particular effort to cater to women. “Is there
going to be an article about WeWork or any of these other coworking spaces?” asked
Renee Bracey Sherman, a reproductive justice activist and Wing member. “People like to
interrogate the things that women and queer folks and people of color who are getting
attention are doing.”

As some members have pointed out, compared to some other spaces, The Wing is
actually more affordable. A desk at WeWork costs more than a Wing membership,
starting at $300 a month in New York City.

Nor is The Wing alone in requiring would-be members to complete an application
process. Soho House, an exclusive social club that started in London, has a membership
committee that decides who gets in and who stays out. Critiques of The Wing “are very
pointed in ways that I do not hear them being pointed at businesses that do essentially
the same thing,” Sow said. “I have not seen the polemic around Soho House.”

Debates about The Wing are part of a bigger conversation about corporate
feminism
So why has The Wing inspired so much controversy? Debates over the company are
part of a larger public discussion about feminism, corporate America, and values-based
consumption.

The Wing’s price tag and application process have linked it in some critics’ minds with
the kind of women’s empowerment espoused by career gurus like Sheryl Sandberg.
This approach to feminism, which celebrates women who climb the corporate ladder to
ever more powerful positions, has been
             Case 1:18-cv-01943-DLF    questioned
                                    Document        more
                                             18 Filed      and more
                                                      03/13/19       inofrecent
                                                               Page 32    39    years.

Sandberg’s core claim in Lean In, her 2013 memoir and career guide manifesto, was that
more women at the top of the corporate hierarchy would improve conditions for all
women. Some critics took issue with this, arguing that promoting the advancement of
middle- and upper-class professional women without changing established power
structures would only benefit the already privileged — and that telling women to “lean
in” put all the onus on them, rather than on society. Critics have come to call Sandberg’s
approach “corporate feminism,” arguing that it benefits businesses and wealthy women
but no one else.


A bookshelf in The Wing’s library area.




“When feminism becomes embroiled in corporate interests, the already-marginalized in
our society are sidelined, omitted, and simply oppressed under a more progressive
guise,” Lauren Rankin wrote in a 2013 Mic article.

The late 2010s have brought even more skepticism about perceived coziness between
feminism and big business. Many feminists have long called for a greater awareness of
the ways in which racism and economic injustice intersect with gender discrimination,
and in the wake of the election of President Trump, those calls are receiving a wider
audience than ever before. Meanwhile, the #MeToo movement has exposed the ways
corporations can protect and abet sexual harassers, making some doubt whether
titans of industry, of any gender, really have women’s best interests at heart.

For The Wing, all this has meant a kind of scrutiny that competitors like WeWork don’t
receive.

That scrutiny can feel unfair — especially since it’s impossible to separate from the fact
that high-profile women in business often get more criticism than their male
counterparts.

The Wing was likely bound to get a certain amount of pushback simply by virtue of the
gender of its founders. Gelman said that while her company has been trying to be open
and responsiveCase
                to some   of the pushback
                    1:18-cv-01943-DLF     it’s received,
                                      Document            The Wing
                                                18 Filed 03/13/19   has33inevitably
                                                                  Page    of 39     become
a victim of constant criticism.

“People can’t metabolize watching female ambition, and I think they start to short-
circuit,” she said. “We see it consistently. Some of it is misogyny, some of it is
internalized misogyny. I think that some of it is fair criticism that the Wing has really
absorbed and learned from. But I do think there’s something inherently provocative
about young women doing things that are new.”

As Sow put it, “it’s made by women and it’s working.”


The Wing’s onsite cafe, called The Perch, during lunchtime.




“There is a fundamental truth that people are uncomfortable about women’s success
and women’s ambition,” she said.

Meanwhile, The Wing’s founders would argue that its success benefits more than just
the well-heeled. All employees, including part-time workers, get health care benefits and
stock options; they will also have access to the child care facilities once they’re open.
The Wing hires formerly incarcerated women and survivors of domestic violence to
work in its cafes, and pays all workers a minimum of $16.50 an hour.

While she was at SKDKnickerbocker, Gelman worked with Patagonia, the outdoor
apparel company with a commitment to environmentalism, and she now describes
the company as “the North Star that I look to.”

“When you spend money here,” she says, “your money is going into a cycle of good.”

The big business of coworking — and women in it
Last year, the coworking industry publication Deskmag predicted that there would be
19,000 co-working spaces across the globe by the end of 2018 — a sizable market, but
one with plenty of room for growth. The commercial real estate firm CBRE calculates
that coworking is a burgeoning opportunity, with the space growing 21 percent annually.

Dozens of companies use the model, but WeWork is the biggest. It has 400,000
members and 400
              Caselocations   in 26 countries.
                   1:18-cv-01943-DLF  DocumentThe
                                               18 company     is now
                                                  Filed 03/13/19  Pagethe largest
                                                                       34 of 39   office
tenant in Manhattan, London, and DC.

When The Wing opened in 2016, coworking spaces like WeWork were already popular.
But the pool tables, free booze, and what some have described as a “frat boy” culture
at WeWork don’t always make women feel comfortable.

Meanwhile, public spaces aren’t always a better option for women. Take Bracey
Sherman, the reproductive justice activist, who says that because of her job, working in
a coffee shop can be difficult. “It’s really exhausting to be on a conference call in a cafe
and people looking at me funny because I’m saying the word ‘abortion,’” she told Vox.

At The Wing, she said, that isn’t a problem. “The fact that I can work on a comfy couch, it
smells really nice, I can say the word abortion over and over and no one side-eyes me,
and that men aren’t asking me stupid questions and trying to hit on me while I’m trying
to read and get my shit done, is huge,” she said.


The library area at The Wing.




When WeWork announced in November 2017 that it was investing in The Wing, WeWork
chief operating officer Jen Berrent said, “From the moment we entered the first Wing
location, we knew there was something special.” Initially, it seemed unusual for WeWork
to invest in a competitor, especially an amount like $32 million. But Berrent noted that
The Wing was a win for WeWork because it was providing “the opportunity for women to
create magic by gathering together.”

To Jess Lee, a partner at Sequoia Capital who led the most recent funding round of The
Wing, the opportunity is enormous.

“We look for companies that can grow to legendary proportions, and The Wing is one
that is capturing lightning in a bottle,” she told Vox.

Sequoia, Lee said, sees The Wing as fueling the trend of people getting offline and
establishing a network IRL.
Gelman told Vox  that
               Case   all Wing locations
                    1:18-cv-01943-DLF    are profitable,
                                      Document           and thatPage
                                               18 Filed 03/13/19  it’s grown
                                                                       35 of 39tremendously
over the past two years (the company declined to provide annual revenue figures but
said it grew 405 percent last year). With its latest injection of funding, The Wing plans to
expand soon to LA, Chicago, Boston, and Seattle. It will also open spaces in Toronto and
London, and Lee believes the company is situated for a mass global expansion. Gelman
added that the idea of opening locations in non-Western countries is particularly
exciting to the company.

“The Wing has the possibility of becoming the world’s largest network of women,” Lee
said. “Its members use it in a lot of different ways — for office space, networking, a place
to build their side hustle, for the events. The Wing is going to completely change
coworking.”

Women in the VC space like Lee are particularly passionate about empowering other
women in business. Earlier this year, Lee and 33 other women in venture capital
launched AllRaise, a nonprofit that aims to “accelerate the success of female funders
and founders.”

“We need to work together to prove that women founders can fund globally impactful,
multibillion-dollar, world-changing businesses,” said Lee. “We know it’s true, but there
need to be extra spaces and networks to help that happen.”

There are plenty of stories of women who’ve built businesses, found their partners, and
even secured funding through The Wing, which excites the VCs at AllRaise. (The Wing is
not directly affiliated with AllRaise, although Lee says they have similar values. Gelman
also gives volunteer office hours for AllRaise.)

Wing member Nicole Gibbons started her paint company Clare out of The Wing. She
told Vox its network was crucial to the business because she had access to office hours
with VCs.

“I didn’t know any investors, and I definitely didn’t know anything about raising capital,
and so sitting with a VC and share my vision and get feedback was incredibly valuable,”
she said. While the investor she met through The Wing’s office hours didn’t end up
investing in Clare, Gibbons eventually met Gelman, who introduced her to two VCs at
Able Partners who
              Casedid.
                   1:18-cv-01943-DLF        Document 18 Filed 03/13/19 Page 36 of 39

While its latest round of funding will no doubt help The Wing’s expansion lead to future
women-run startups like Clare, The Wing also plans to grow beyond the office space. It
already operates a media brand, titled No Man’s Land, which includes a biannual print
magazine and a women’s history podcast. The company recently started developing its
app into a social network for members, and Lee said part of the funding will be used to
update this technology.


Merchandise for sale at The Wing in SoHo.




“I think there are a lot of people who want to be tapping into the network and engaging
around some of the events that we do,” Gelman said. “There’s a huge opportunity with
women who aren’t necessarily in a city where a Wing is opening.”

With this move, The Wing would be undermining existing social networks that have
largely been created by men, and where women often face harassment. Cadran
Cowansage, who created a social network for women in tech, Leap, says social
networks for women are valuable because “much existing work culture, from
communication styles to social events, is designed by men.”

“It’s the same reason why men join golf clubs,” Cowansage said. “There’s so much more
to business than what happens in an office. It’s the sharing of insight, advice, and
connections that really supports people behind the scenes and helps propel them in
their careers. In a male-dominated workplace, women tend to be excluded from those
experiences.”

The Wing’s membership policy has opened it up to legal action
The Wing has faced pushback over its status as a women-only space. While the
company has long admitted members who identify as nonbinary, its founders have
been criticized for focusing on women in their marketing.

The company has also found itself in legal trouble over its decision to exclude men. In
spring 2018, the New York City Commission on Human Rights opened an investigation
into The Wing, according    to Jezebel.Document
               Case 1:18-cv-01943-DLF   The commission    does not
                                                18 Filed 03/13/19   comment
                                                                  Page 37 of 39 on open
investigations, but it is tasked with investigating violations of the city’s human rights law,
which bars most businesses from discriminating on the basis of gender.

Several legal scholars agreed that The Wing was, technically, in violation of city law. But
some questioned whether investigating The Wing was a good use of the commission’s
time, especially since the human rights law was largely intended to protect women and
other marginalized groups, not men, from discrimination.

A spokesperson for the New York City Commission on Human Rights told Vox the
investigation has not been closed but would not comment further. (The Wing told Vox
that it is “working collaboratively with the commission to bring the investigation to an
end in the coming weeks.”)

In August 2018, a man named James Pietrangelo sued The Wing for gender
discrimination after, he said, he was denied admission to the DC club. (Pietrangelo has
not responded to Vox’s request for comment.)

The Wing has moved for the case to be dismissed, and the motion is currently awaiting a
decision by a judge.

Big business comes with growing pains
The bigger The Wing gets, the more criticism it will likely face, especially as it grows with
the help of Silicon Valley. At the same time, its founders have shown they are open to
change.

In January, Gelman and Kassan announced a new gender policy.

“With a growing number of members who identify as transgender or beyond the gender
binary, we want to make sure that we are as inclusive a community as possible,” they
wrote. “We’ve made some internal updates and adopted written membership policies to
ensure that our staff is trained not to make assumptions about someone’s identity
based on how they present, or to ask prospective members or guests to self-identify.”

“While The Wing will always be a space designed for women with a women’s-focused
mission,” they added, “you may see folks at The Wing who express their gender in a
variety of ways.”
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Merchandise at The Wing.




The Wing cited the new policy in its motion to dismiss Pietrangelo’s suit, arguing that
Pietrangelo’s complaint was rendered moot by the fact that applicants will now “be
evaluated based on their commitment to The Wing’s mission, regardless of their
perceived gender identity.” (The Wing told Vox that its “policy update has nothing to do
whatsoever with Mr. Pietrangelo’s suit.”)

With its new policy, “The Wing is not only affirming the womanhood of trans women,
they’re also affirming the personhood of nonbinary folks like me,” said Jacob Tobia, a
Wing member and the author of Sissy: A Coming-of-Gender Story, whom The Wing
asked to review its announcement of the policy.

In some ways, a visit to The Wing is a reminder of the things so many women lack in their
daily lives: a safe place to conduct business without fear of harassment, a way to meet
mentors who can help them in their careers, a private room for mothers to pump. By
offering these things, the Wing is providing an enormous service to those who can
become members. For those without the means or luck to snag a membership, though,
it remains out of reach.

Sow, the Call Your Girlfriend host, says she and her fellow Wing members are capable of
thinking critically about the company’s contradictions.

“Nobody who goes to the Wing is naive to the fact that feminists have to contend with a
capitalist society,” she said.

Sow added that she supports critiques of The Wing, as long as they’re made in good
faith.

“I think that divisiveness among women is actually very healthy,” she explained, “but it
has to be grounded in truth and fact and context.”


Teri-Ann Carryl poses for a picture of the back of her T-shirt. Carryl has worked at The Wing for three months.
                      Case 1:18-cv-01943-DLF Document 18 Filed 03/13/19 Page 39 of 39




Update: 2/12: This story has been updated to include additional information on The
Wing’s diversity initiatives, and to clarify WeWork’s pricing.




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